
111 Ga. App. 552 (1965)
142 S.E.2d 308
SIMMONS
v.
THE STATE.
41249.
Court of Appeals of Georgia.
Submitted April 6, 1965.
Decided April 13, 1965.
Edward J. Goodwin, for plaintiff in error.
Andrew J. Ryan, Jr., Solicitor General, Andrew J. Ryan, III, contra.
NICHOLS, Presiding Judge.
Nathaniel Simmons was indicted for assault with intent to murder by cutting and stabbing Willie Hall. On the trial before the judge without a jury the defendant was found guilty and now assigns error on the judgment overruling his motion for new trial based on the usual general grounds only. The evidence adduced on the trial *553 of the case included the positive identification by the victim, and the sole argument of the defendant is that the victim's testimony was impeached and therefore the conviction was not authorized. There was evidence introduced tending to impeach the victim (a conflict as to a statement given a police officer on the night of the stabbing). Held:
1. Where a trial judge hears a case without the intervention of a jury, the credibility of the witnesses is for his determination. Boynton v. State, 11 Ga. App. 268 (75 SE 9); Goggans v. State, 14 Ga. App. 822 (2) (82 SE 357); Holbrook v. Rodgers, 105 Ga. App. 219, 221 (124 SE2d 443).
2. The evidence authorized the conviction and the trial court did not err in overruling the defendant's motion for new trial based on the usual general grounds only.
Judgment affirmed. Eberhardt and Pannell, JJ., concur.
